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           EXHIBIT 7
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    From:           James Kolenich
    To:             Gabrielle E. Tenzer
    Cc:             Roberta Kaplan; Karen Dunn; jphillips@bsfllp.com; Levine, Alan; Mills, David; pbowman@cooley.com
    Subject:        Client contact info
    Date:           Friday, November 9, 2018 4:05:32 PM


    Ms. Tenzer:

    Pursuant to Judge Hoppe's instruction, please find below contact information for
    clients I have withdrawn or are seeking to withdraw from representing:

    1) Eli Mosely aka Elliott Kline
      Eli.F.Mosley@gmail.com
      (610) 406-2229

    2) Matthew Heimbach
      matthew.w.heimbach@gmail.com
     (301) 525-1474

    3) Robert Ray aka Azzmador
      azzmador@gmail.com
      903-245-9134 (please advise him by phone/text when sending an email as he
    receives a large amount of email every day and ignores most of it.)

    I do not have physical mailing addresses for any of them.

    Respectfully,

    Jim Kolenich

    --
    James E. Kolenich
    Kolenich Law Office
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249
    513-444-2150
    513-297-6065(fax)
    513-324-0905 (cell)
